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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                        SAVANNAH DIVISION

 CRYSTAL CHAPMAN, on behalf of                 :
 herself and others similarly situated,        : CIVIL ACTION FILE NO. CV421-245
                                               :
       Plaintiff,                              :
                                               :
 v.                                            : COMPLAINT – CLASS ACTION
                                               :
 AMERICA'S LIFT CHAIRS, LLC,                   :
                                               : JURY TRIAL DEMANDED
       Defendant.                              :
                                               :
                                           /

      Plaintiff Crystal Chapman (hereinafter referred to as “Plaintiff”),

individually and on behalf of all others similarly situated, alleges on personal

knowledge, investigation of her counsel, and on information and belief, as follows:


                              NATURE OF ACTION

      1.     As the Supreme Court recently explained, “Americans passionately

disagree about many things. But they are largely united in their disdain for

robocalls. The Federal Government receives a staggering number of complaints

about robocalls—3.7 million complaints in 2019 alone. The States likewise field a

constant barrage of complaints. For nearly 30 years, the people’s representatives in

Congress have been fighting back. As relevant here, the Telephone Consumer
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Protection Act of 1991, known as the TCPA, generally prohibits robocalls to cell

phones and home phones.” Barr v. Am. Ass'n of Political Consultants, 140 S. Ct.

2335, 2343 (2020).

      2.     This case involves a campaign by America’s Lift Chairs, LLC

(“America’s Lift”) to market its services through the use of pre-recorded

telemarketing calls in plain violation of the Telephone Consumer Protection Act,

47 U.S.C. § 227 et seq. (hereinafter referred to as the “TCPA”).

      3.     America’s Lift also made telemarketing calls to residential numbers

listed on the National Do Not Call Registry, like Mrs. Chapman’s, which is

prohibited by the TCPA.

      4.     The recipients of America’s Lift’s illegal calls, which include Plaintiff

and the proposed Class, are entitled to damages under the TCPA and because the

technology used by America’s Lift makes calls en masse, the appropriate vehicle

for their recovery is a class action lawsuit.

                                      PARTIES

      5.     Plaintiff Crystal Chapman is, and at all times mentioned herein was,

an individual citizen of New York.




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      6.     Defendant America’s Lift Chairs, LLC is a Georgia limited liability

company with a registered agent of Jason Jue, 2 Village Walk, Suite 204 in

Savannah, GA 31411.



                          JURISDICTION AND VENUE

      7.     This Court also has federal question jurisdiction pursuant to 28 U.S.C.

§ 1331 and 47 U.S.C. § 227 et seq.

      8.     This Court has personal jurisdiction over America’s Lift because the

company is a resident of this District.

      9.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because the

telephone calls at issue were placed from this District.

                             TCPA BACKGROUND

The TCPA Prohibits Automated Telemarketing Calls

      10.    The TCPA makes it unlawful to make any call (other than a call made

for emergency purposes or made with the prior express consent of the called party)

using an automatic telephone dialing system or an artificial or prerecorded voice to

any telephone number assigned to a cellular telephone service or that is charged

per the call. See 47 U.S.C. § 227(b)(1)(A)(iii).




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      11.    The TCPA provides a private cause of action to persons who receive

calls in violation of 47 U.S.C. § 227(b)(1)(A) or 47 U.S.C. § 227(b)(1)(B). See 47

U.S.C. § 227(b)(3).

      12.    According to findings by the Federal Communication Commission

(“FCC”), the agency Congress vested with authority to issue regulations

implementing the TCPA, such calls are prohibited because, as Congress found,

automated or prerecorded telephone calls are a greater nuisance and invasion of

privacy than live solicitation calls, and such calls can be costly and inconvenient.

      13.    The FCC also recognized that “wireless customers are charged for

incoming calls whether they pay in advance or after the minutes are used.” In re

Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991, CG

Docket No. 02-278, Report and Order, 18 F.C.C. Rcd. 14014, 14115 ¶ 165 (2003).

      14.    In 2013, the FCC required prior express written consent for all

autodialed or prerecorded telemarketing calls (“robocalls”) to wireless numbers

and residential lines. Specifically, it ordered that:

      [A] consumer’s written consent to receive telemarketing robocalls must
      be signed and be sufficient to show that the consumer: (1) received
      “clear and conspicuous disclosure” of the consequences of providing
      the requested consent, i.e., that the consumer will receive future calls
      that deliver prerecorded messages by or on behalf of a specific seller;
      and (2) having received this information, agrees unambiguously to
      receive such calls at a telephone number the consumer designates.[] In
      addition, the written agreement must be obtained “without requiring,

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      directly or indirectly, that the agreement be executed as a condition of
      purchasing any good or service.[]”

In the Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of
1991, 27 F.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).

The National Do Not Call Registry

      15.    The National Do Not Call Registry allows consumers to register their

telephone numbers and thereby indicate their desire not to receive telephone

solicitations at those numbers. See 47 C.F.R. § 64.1200(c)(2).

      16.    A listing on the Registry “must be honored indefinitely, or until the

registration is cancelled by the consumer or the telephone number is removed by

the database administrator.” Id.

      17.    The TCPA and implementing regulations prohibit the initiation of

telephone solicitations to residential telephone subscribers to the Registry and

provides a private right of action against any entity that makes those calls, or “on

whose behalf” such calls are promoted. 47 U.S.C. § 227(c)(5); 47 C.F.R.

§ 64.1200(c)(2).



                           FACTUAL ALLEGATIONS

      18.    Defendant America’s Lift is a “person” as the term is defined by 47

U.S.C. § 153(39).

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       19.    Plaintiff is a “person” as the term is defined by 47 U.S.C. § 153(39).

       20.    Plaintiff Chapman’s telephone number, (585) 414-XXXX, is

registered to a cellular telephone service and has been for years prior to receipt of

the calls at issue.

       21.    The number has been registered on the National Do Not Call Registry

since May of 2021.

       22.    Mrs. Chapman uses the number for personal, residential, and

household reasons.

       23.    The number is not associated with any business.

       24.    Defendant placed multiple telemarketing calls to Plaintiff’s number on

July 20, 2021.

       25.    The calls solicited the Plaintiff to purchase America’s Lift’s lift chair

services.

       26.    Indeed, the pre-recorded message indicated that the makers of medical

alerts and hearing aids were now introducing lift chairs.

       27.    Plaintiff did not provide her prior express written consent to receive

the telemarketing calls at issue.

       28.    The calls were not necessitated by an emergency.




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      29.   Plaintiff and all members of the Class, defined below, have been

harmed by the acts of Defendant because their privacy has been violated, they were

annoyed and harassed, and, in some instances, may have been charged for

incoming calls. Plaintiff and the Class Members were also harmed by use of their

telephone power and network bandwidth and the intrusion on their telephone that

occupied it from receiving legitimate communications.


                      CLASS ACTION ALLEGATIONS

      30.   Plaintiff brings this action on behalf of herself and the following Class

(the “Classes”) pursuant to Federal Rule of Civil Procedure 23.

      31.   Plaintiff proposes the following Class definitions, subject to

amendment as appropriate:

      Robocall Class: All persons within the United States: (1) to whose cellular
      telephone number or other number for which they are charged for the call (2)
      Defendant (or an agent acting on behalf of Defendant) placed a
      telemarketing call (3) within the four years prior to the filing of the
      Complaint (4) using an identical or substantially similar pre-recorded
      message used to place telephone calls to Plaintiff (5) from four years prior to
      the filing of the Complaint through trial.

      National Do Not Call Registry Class: All persons within the United States
      whose (1) telephone numbers were on the National Do Not Call Registry for
      at least 31 days, (2) but who received more than one telemarketing calls
      from or on behalf of Defendant (3) within a 12-month period, (4) from four
      years prior to the filing of the Complaint through trial.



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      32.     Plaintiff Chapman is a member of and will fairly and adequately

represent and protect the interests of the classes as she has no interests that conflict

with any of the class members.

      33.     Excluded from the Classes are counsel, the Defendant, and any

entities in which the Defendant has a controlling interest, the Defendant’s agents

and employees, any judge to whom this action is assigned, and any member of

such judge’s staff and immediate family.

      34.     Plaintiff and all members of the Classes have been harmed by the acts

of the Defendant, including, but not limited to, the invasion of their privacy,

annoyance, waste of time, the use of their telephone power and network bandwidth,

and the intrusion on their telephone that occupied it from receiving legitimate

communications.

      35.     This Class Action Complaint seeks injunctive relief and money

damages.

      36.     The Classes are defined above are identifiable through the

Defendant’s dialer records, other phone records, and phone number databases.

      37.     Plaintiff does not know the exact number of members in the Classes,

but Plaintiff reasonably believes members number, at minimum, in the hundreds in

each class.


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         38.   The joinder of all Class members is impracticable due to the size and

relatively modest value of each individual claim.

         39.   Additionally, the disposition of the claims in a class action will provide

substantial benefit to the parties and the Court in avoiding a multiplicity of identical

suits.

         40.   There are well defined, nearly identical, questions of law and fact

affecting all parties. The questions of law and fact, referred to above, involving the

class claims predominate over questions which may affect individual Class

members.

         41.   There are numerous questions of law and fact common to Plaintiff and

to the proposed Class, including but not limited to the following:

               (a) Whether the Defendant used pre-recorded message to send
                   telemarketing calls;

               (b) whether Defendant made calls to Plaintiff and members of the
                   Class without first obtaining prior express written consent to make
                   the calls;

               (c) whether the Defendant accessed and removed numbers from its
                   calling list that were on the National Do Not Call registry;

               (d) whether Defendant’s conduct constitutes a violation of the TCPA;
                   and

               (e) whether members of the Class are entitled to treble damages based
                   on the willfulness of Defendant’s conduct.


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       42.   Plaintiff has retained counsel with substantial experience in

prosecuting complex litigation and class actions, and especially TCPA class

actions. Plaintiff and her counsel are committed to vigorously prosecuting this

action on behalf of the other members of the Classes.

       43.   Common questions of law and fact predominate over questions

affecting only individual class members, and a class action is the superior method

for fair and efficient adjudication of the controversy. The only individual question

concerns identification of class members, which will be ascertainable from records

maintained by Defendant and/or its agents.

       44.   Plaintiff is not aware of any litigation concerning this controversy

already commenced by others who meet the criteria for class membership described

above.

                           FIRST CAUSE OF ACTION

              Violation of the Telephone Consumer Protection Act
                47 U.S.C. 227(b) on behalf of the Robocall Class

       45.    Plaintiff incorporates the allegations from all previous paragraphs as if

fully set forth herein.

       46.    The foregoing acts and omissions of Defendant and/or their affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the TCPA, 47 U.S.C. § 227, by making calls,

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except for emergency purposes, to the cellular telephone numbers of Plaintiff and

members of the Class delivering pre-recorded messages.

       47.    As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf’s violations of the TCPA, 47

U.S.C. § 227, Plaintiff and members of the Class presumptively are entitled to an

award of $500 in damages for each and every call made to their cellular telephone

numbers using an artificial or prerecorded voice in violation of the statute, pursuant

to 47 U.S.C. § 227(b)(3)(B).

       48.   If the Defendant’s conduct is found to be knowing or willful, the

Plaintiff and members of the Class are entitled to an award of up to treble damages.

       49.   Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from sending an artificial or

prerecorded voice, except for emergency purposes, to any cellular telephone

number in the future.

                          SECOND CAUSE OF ACTION

             Violation of the Telephone Consumer Protection Act
       47 U.S.C. 227(c) on behalf of the National Do Not Call Registry Class

       50.    Plaintiff incorporates the allegations from all previous paragraphs as if

fully set forth herein.

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      51.     The foregoing acts and omissions of Defendant and/or its affiliates,

agents, and/or other persons or entities acting on Defendant’s behalf constitute

numerous and multiple violations of the TCPA, 47 U.S.C. § 227, by making

telemarketing calls, except for emergency purposes, to the Plaintiff and the Class

despite their numbers being on the National Do Not Call Registry.

      52.     The Defendant’s violations were negligent, willful, or knowing.

      53.     As a result of Defendant’s and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf violations of the TCPA, 47 U.S.C.

§ 227, Plaintiff and members of the Class presumptively are entitled to an award of

between $500 and $1,500 in damages for each and every call made.

      54.     Plaintiff and members of the Class are also entitled to and do seek

injunctive relief prohibiting Defendant and/or its affiliates, agents, and/or other

persons or entities acting on Defendant’s behalf from making telemarketing calls to

numbers on the National Do Not Call Registry, except for emergency purposes, in

the future.




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                               PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays

for the following relief:

         A.    Injunctive relief prohibiting Defendant and/or its affiliates, agents,

and/or other persons or entities acting on Defendant’s behalf from sending an

artificial or prerecorded voice, except for emergency purposes, to any cellular

telephone number in the future;

         B.    Injunctive relief prohibiting Defendant and/or its affiliates, agents,

and/or other persons or entities acting on Defendant’s behalf from making

telemarketing calls to numbers on the National Do Not Call Registry, except for

emergency purposes, in the future.

         C.    That the Court enter a judgment awarding Plaintiff and all class

members statutory damages of $500 for each violation of the TCPA and $1,500 for

each knowing or willful violation; and

         D.    An order certifying this action to be a proper class action pursuant to

Federal Rule of Civil Procedure 23, establishing an appropriate Class the Court

deems appropriate, finding that Plaintiff is a proper representative of the Class, and

appointing the lawyers and law firms representing Plaintiff as counsel for the

Class;


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     E.    Such other relief as the Court deems just and proper.

                                JURY DEMAND

     Plaintiff requests a jury trial as to all claims of the complaint so triable.

Dated: September 1, 2021

                                PLAINTIFF, individually and
                                on behalf of others similarly situated,

                                By:

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